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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



GEORGE LUIS DeJESUS,

                       Petitioner,

v.                                                    CASE NO. 04-CV-71553-DT
                                                      HONORABLE GEORGE CARAM STEEH
BLAINE C. LAFLER,

                  Respondent.
_________________________________/

             OPINION AND ORDER DENYING WRIT OF HABEAS CORPUS

       Petitioner George Luis DeJesus has filed an application for the writ of habeas corpus

under 28 U.S.C. § 2254. Having reviewed the pleadings and record, the Court concludes that

Petitioner’s claims lack merit and do not entitle him to relief. Therefore, his habeas petition will

be denied.

                                          I. Background

       On December 11, 1997, a circuit court jury in Oakland County, Michigan found both

Petitioner and his brother Melvin DeJesus guilty of premeditated murder, felony murder,

criminal sexual conduct in the first degree, and three counts of possession of a firearm during the

commission of a felony (felony firearm). The convictions arose from the rape and brutal beating

of the DeJesus’ neighbor. There was no physical evidence connecting Petitioner or his brother to

the crimes. The primary evidence against them came from Brandon Gohagen, who testified that

he sexually assaulted the victim at Melvin DeJesus’ command, but the two DeJesus brothers

subsequently kicked the victim in the upper body and left her tied up and moaning on her

basement floor. Petitioner’s defense was that he was not present when the crimes were
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committed and that Brandon Gohagen alone raped and murdered the victim. The jury was

unpersuaded by the defense and convicted both Petitioner and Melvin DeJesus as charged.

       Because there was only one victim, the trial court vacated one first-degree murder

conviction and the attendant felony firearm count. The court then sentenced Petitioner to two

concurrent terms of two years in prison for each felony firearm conviction, followed by

concurrent terms of life imprisonment for the murder and criminal sexual conduct convictions.

       Petitioner raised his first five habeas claims in an appeal of right. The Michigan Court of

Appeals vacated Petitioner’s criminal sexual conduct conviction, because it was the predicate

felony for the felony murder conviction and violated double jeopardy principles. The court of

appeals also vacated the felony firearm conviction that was related to the criminal sexual conduct

conviction. The court of appeals affirmed Petitioner’s other convictions, but remanded the case

so that the judgment of sentence could be modified to reflect that Petitioner was convicted of one

count of first-degree murder supported by two theories: premeditated murder and felony murder.

See People v. DeJesus, No. 209388 (Mich. Ct. App. June 18, 1999) (unpublished opinion). On

May 31, 2000, the Michigan Supreme Court denied Petitioner’s subsequent application for leave

to appeal. See People v. George DeJesus, 462 Mich. 866; 616 N.W.2d 687 (2000) (table).

       Petitioner raised his sixth and final habeas claim in a motion for relief from judgment

filed on May 30, 2001. The trial court denied his motion, and the Michigan Court of Appeals

denied leave to appeal “for failure to meet the burden of establishing entitlement to relief under

MCR 6.508(D) or MCL 770.16(3).” People v. DeJesus, No. 246201 (Mich. Ct. App. July 18,

2003). The Michigan Supreme Court also denied leave to appeal. See People v. George

DeJesus, 469 Mich. 1000; 675 N.W.2d 591 (2004) (table).


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       On April 26, 2004, Petitioner filed his habeas corpus petition through counsel. His

grounds for relief read:

       I.      The erroneous admission of irrelevant and highly prejudicial
               testimony alleging Petitioner was a member of a gang deprived
               him of his due process right to a fair trial under the Federal
               Constitution.

       II.     The state trial court erred by allowing inadmissible hearsay
               evidence in at trial, depriving Petitioner of his due process right to
               a fair trial.

       III.    The state trial court deprived Petitioner of his due process rights to
               a fair trial by permitting the prosecution to present highly
               inflammatory images to the jury from opening statement and
               throughout trial.

       IV.     The state prosecutor’s repeated misconduct was so egregious that
               it wholly undermined the trial, rendered the verdict unreliable, and
               deprived Petitioner of due process and an impartial trial by jury as
               guaranteed by the Fifth and Fourteenth Amendments to the Federal
               Constitution.

       V.      Petitioner was denied his constitutional right to due process when
               the trial court denied the motion for a directed verdict where there
               was insufficient evidence to establish the charges.

       VI.     The Michigan state courts denied Petitioner due process by (A)
               refusing to provide available DNA biological samples for
               independent testing and (B) in failing to conduct a hearing with
               respect to a post-appeal expert forensic scientist’s report disputing
               the State’s evidence on the critical element of the murder charge,
               after refusing to appoint an expert at trial.

       Respondent urges the Court to deny the habeas petition on the grounds that the claims

lack merit or are procedurally defaulted. Procedural default is not a jurisdictional bar to review

of the merits of an issue, Howard v. Bouchard, 405 F.3d 459, 476 (6th Cir. 2005), cert. denied,

__ U.S. __, __, 126 S. Ct. 1032 (2006), and “federal courts are not required to address a

procedural default issue before deciding against the petitioner on the merits.” Hudson v. Jones,

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351 F.3d 212, 215 (6th Cir. 2003) (citing Lambrix v. Singletary, 520 U.S. 518, 525 (1997)), cert.

denied, 543 U.S. 880 (2004). The Court will proceed directly to the merits of Petitioner’s

claims, using the following standard of review, because it is efficient to adjudicate Petitioner’s

claims than to analyze them under the procedural default doctrine.

                                     II. Standard of Review

       Petitioner is entitled to the writ of habeas corpus only if he can show that the state court’s

adjudication of the claims on the merits–

       (1) resulted in a decision that was contrary to, or involved an unreasonable
       application of, clearly established Federal law, as determined by the Supreme
       Court of the United States; or

       (2) resulted in a decision that was based on an unreasonable determination of the
       facts in light of the evidence presented in the State court proceeding.

28 U.S.C. § 2254(d).

       A state court’s decision is “contrary to” clearly established federal law “if the state court

arrives at a conclusion opposite to that reached by [the Supreme] Court on a question of law or if

the state court decides a case differently than [the Supreme] Court has on a set of materially

indistinguishable facts.” Williams v. Taylor, 529 U.S. 362, 412-13 (2000) (Justice O’Connor’s

majority opinion on Part II). A state court’s decision is an “unreasonable application of” clearly

established federal law “if the state court identifies the correct governing legal principle from

[the Supreme] Court’s decisions but unreasonably applies that principle to the facts of the

prisoner’s case.” Id. at 413. “Avoiding these pitfalls does not require citation of [Supreme

Court] cases – indeed, it does not even require awareness of [Supreme Court] cases, so long as

neither the reasoning nor the result of the state-court decision contradicts them.” Early v.

Packer, 537 U.S. 3, 8 (2002) (per curiam opinion) (emphasis in original).

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       Furthermore, state findings of fact are presumed to be correct unless the defendant
       can rebut the presumption by clear and convincing evidence. 28 U.S.C. §
       2254(e)(1). Finally, review is conducted in light of the law as it existed at the
       time of the final state court decision, Teague v. Lane, 489 U.S. 288, 109 S.Ct.
       1060, 103 L. Ed.2d 334 (1989), unless an intervening constitutional decision
       announces a “watershed” rule of criminal law with implications for the
       fundamental fairness of the trial proceeding. Caspari v. Bohlen, 510 U.S. 383,
       396, 114 S.Ct. 948, 127 L. Ed.2d 236 (1994).

Baze v. Parker, 371 F.3d 310, 318 (6th Cir. 2004), cert. denied, 544 U.S. 931 (2005).

                                           III. Discussion

                                   A. Testimony about a Gang

       The first habeas claim alleges that the erroneous admission of irrelevant and highly

prejudicial testimony that Petitioner was a member of a gang deprived him of his constitutional

right to a fair trial. The Michigan Court of Appeals determined that the brief mention of gang

involvement did not prejudice Petitioner’s right to a fair trial.

       “Trial court errors in state procedure and/or evidentiary law do not rise to the level of

federal constitutional claims warranting relief in a habeas action unless the error renders the

proceeding so fundamentally unfair as to deprive the petitioner of due process under the

Fourteenth Amendment.” McAdoo v. Elo, 365 F.3d 487, 494 (6th Cir.) (citing Estelle v.

McGuire, 502 U.S. 62, 69-70 (1991)), cert. denied, 543 U.S. 892 (2004). Evidence of gang-

related activity can amount to constitutional error when the evidence is not relevant to any issue

being decided in the proceeding. Dawson v. Delaware, 503 U.S. 159, 160 (1992).

       The trial court ruled before trial that there would be no mention of gangs (Tr. Nov. 26,

1997, at 17-18), and the prosecutor cautioned her witnesses not to mention gangs (Tr. Dec. 2,

1997, at 105). However, when the prosecutor asked Jeremy Wilkes whether he “hung around”

with the defendants, Jeremy responded that Petitioner and Melvin DeJesus were members of a

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gang and that he did not want to associate with them because he knew he would get into trouble

if he did. (Id. at 67-68.) The statement was a brief comment in a lengthy trial where the

evidence against Petitioner was substantial. No further mention was made of the defendants’

membership in a gang. Therefore, the evidentiary error did not render the trial fundamentally

unfair so as to deprive Petitioner of his constitutional right to due process.

                                             B. Hearsay

        The second habeas claim alleges that the trial court erred by admitting (1) Terrell

Gholston’s testimony regarding Brandon Gohagen’s comments about the murder and (2) Angela

Rodriguez’ testimony that the victim did not like Melvin DeJesus and did not want her son

associating with the defendants because they were trouble. Petitioner contends that the disputed

testimony was inadmissible hearsay.

        The Michigan Court of Appeals noted that Gohagen’s statements to Gholston were made

before Gohagen was offered a plea bargain. The court of appeals concluded that Gohagen’s

statements were admissible under Michigan Rule of Evidence 801(d)(1)(B) as a prior consistent

statement to rebut defense counsel’s charge that Gohagen’s testimony was influenced by the plea

agreement. The court of appeals declined to review Petitioner’s claim about Angela Rodriguez’

testimony, because Petitioner did not object to the testimony at trial and because the testimony

did not affect Petitioner’s substantial rights.

        Hearsay is “a statement, other than one made by the declarant while testifying at the trial

or hearing, offered in evidence to prove the truth of the matter asserted.” Mich. R. Evid. 801(c).

Although hearsay generally is not admissible in state court, Mich. R. Evid. 802, the alleged

violation of state law is not a basis for habeas relief. “In conducting habeas review, a federal


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court is limited to deciding whether a conviction violated the Constitution, laws, or treaties of the

United States. 28 U.S.C. § 2241; Rose v. Hodges, 423 U.S. 19, 21 (1975) (per curiam ).” Estelle

v. McGuire, 502 U.S. at 68.

       Petitioner attempts to assert his claim under the Sixth Amendment, which “guarantees to

a criminal defendant the right ‘to be confronted with the witnesses against him.’ U.S. Const.

amend. VI.” Danner v. Motley, 448 F.3d 372, 377 (6th Cir. 2006). The Amendment applies to

state court proceedings, Pointer v. Texas, 380 U.S. 400, 403 (1965), and it provides a criminal

defendant with “the right physically to face those who testify against him, and the right to

conduct cross-examination.” Pennsylvania v. Ritchie, 480 U.S. 39, 51 (1987).

       The Confrontation Clause does not prohibit the admission of all hearsay statements

against a criminal defendant. Idaho v. Wright, 497 U.S. 805, 813 (1990). Hearsay statements

are admissible if the declarant is unavailable and his or her statement “bears adequate ‘indicia of

reliability.’” Ohio v. Roberts, 448 U.S. 56, 66 (1980).1 Reliability can be inferred when “the

evidence falls within a firmly rooted hearsay exception” or bears “particularized guarantees of

trustworthiness.” Id.

                                       1. Terrell Gholston

       Brandon Gohagen was the declarant in Terrell Gholston’s hearsay testimony. Gohagen

testified at Petitioner’s trial and was subject to cross-examination. Thus, Gholston’s testimony

about Gohagen’s comments to him did not violate the Confrontation Clause.



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          Roberts was abrogated in part by Crawford v. Washington, 541 U.S. 36 (2004). The
Court need not determine whether Petitioner’s statements were admissible under Crawford,
because Crawford was decided after Petitioner’s conviction became final, and it does not apply
retroactively on habeas review. Dorchy v. Jones, 398 F.3d 783, 788 (6th Cir. 2005).

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                                       2. Angela Rodriguez

       Angela Rodriguez’ hearsay testimony concerned the deceased victim’s comments about

the defendants. The victim was unavailable as a witness due to her death, and Ms. Rodriguez’

hearsay testimony about the victim’s comments was admitted under the “existing state of mind”

exception to the hearsay rule. See Mich. R. Evid. 803(3).

       The state-of-mind exception has been recognized by the Supreme Court . . . for
       over a century. See Mut. Life Ins. Co. v. Hillmon, 145 U.S. 285, 295-96, 12 S.Ct.
       909, 36 L. Ed. 706 (1892) (admitting letter stating that declarant intended to travel
       to a certain destination with another); Commonwealth v. Trefethen, 157 Mass.
       180, 31 N.E. 961, 964-65 (1892) (admitting statement of declarant's intention to
       commit suicide). Indeed, “the exception exists in every jurisdiction in the
       country, whether by statute, court rule, or common law tradition,” Hayes v. York,
       311 F.3d 321, 325 (4th Cir. 2002), and has been codified in the Federal Rules of
       Evidence, see Fed. R. Evid. 803(3). The premise for admitting hearsay statements
       evidencing state-of-mind is that such statements are reliable because of their
       “spontaneity and [the] resulting probable sincerity.” McCormick on Evidence, §
       274 (5th ed.1999). Thus, the rationale for the state-of-mind exception is similar
       to the rationale for the other hearsay exceptions that the Supreme Court has
       recognized as “firmly rooted.” See Lilly, 527 U.S. at 127, 119 S.Ct. 1887 (stating
       that firmly rooted exceptions are those that permit the admission of declarations
       “made without motive to reflect on the legal consequences of one's statements and
       in situations that are exceptionally conducive to veracity”).

Horton v. Allen, 370 F.3d 75, 85 (1st Cir. 2004), cert. denied, 543 U.S. 1093 (2005). Because

the state-of-mind exception is a firmly rooted exception to the hearsay rule, see id., Angela

Rodriguez’ testimony concerning the deceased victim’s comments to her did not violate

Petitioner’s right of confrontation.

                                 C. Inflammatory Photographs

       The third habeas claim alleges that the trial court deprived Petitioner of his right to a fair

trial by permitting the prosecution to present highly inflammatory images to the jury during her

opening statement and throughout trial. The images consisted of gruesome photographs of the


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victim and a single photograph of Petitioner holding a gun in each hand.

                                 1. The Gruesome Photographs

        The Michigan Court of Appeals determined that the trial court was correct in allowing

the prosecutor to display and admit photographs, because the photographs were relevant to prove

the extent of the injuries and the intent to kill. The court found that the probative value of the

photographs was not outweighed by the danger of unfair prejudice. This Court finds that

Petitioner’s argument about gruesome photographs fails to state a constitutional claim and,

therefore, is not cognizable on habeas review. Cooey v. Coyle, 289 F.3d 882, 893-94 (6th Cir.

2002) (citing Gerlaugh v. Stewart, 129 F.3d 1027, 1032 (9th Cir.1997) (holding that the

admission of gruesome photographs of the decedent did not raise “the spectre of fundamental

fairness such as to violate federal due process of law”)).

                        2. The Photograph of Petitioner with Two Guns

        The state court of appeals found the minimal probative value of the photograph of

Petitioner to be substantially outweighed by the danger of unfair prejudice because the

photograph depicted Petitioner in a disturbing pose and because it fueled an inference that he

was violent. The court nevertheless found the error to be harmless because its admission likely

did not affect the verdict.



        In Chapman v. California, 386 U.S. 18, 24 (1967), the Supreme Court held “that before a

federal constitutional error can be held harmless, the court must be able to declare a belief that it

was harmless beyond a reasonable doubt.” When a state court has found an error to be

harmless, a federal habeas court must apply the deference due under 28 U.S.C. § 2254(d) and ask


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 whether the state court’s harmless-error decision was contrary to, or an unreasonable application

 of, Chapman. Eddleman v. McKee, __ F.3d __, __, No. 05-1493, slip op. at 2 (6th Cir. Dec. 14,

 2006).

          Brandon Gohagen testified that the photograph of Petitioner holding a gun in each hand

 was taken in 1995, the year in which the crimes occurred. Gohagen identified the guns in the

 photograph as ones belonging to him (Gohagen) and Melvin DeJesus. Gohagen did not know

 the exact date when the photograph was taken, and there was no testimony that the photograph

 reflected Petitioner during the incident in question. In light of the other evidence against

 Petitioner, including testimony that Petitioner held Gohagen’s gun during the sexual assault,

 bound the victim’s hands and feet, and participated in kicking her, the photograph was harmless

 beyond a reasonable doubt. Therefore, the state court’s decision was not contrary to, or an

 unreasonable application of, Chapman.

                                          D. The Prosecutor

          The fourth habeas claim alleges prosecutorial misconduct. Petitioner alleges that the

 misconduct was so egregious that it wholly undermined the trial, rendered the verdict unreliable,

 and deprived him of due process and an impartial jury.

          “Claims of prosecutorial misconduct are reviewed deferentially on habeas review.”

 Millender v. Adams, 376 F.3d 520, 528 (6th Cir. 2004), cert. denied, 544 U.S. 921 (2005). To

 prevail on a claim of prosecutorial misconduct, Petitioner must demonstrate that the prosecutor’s

 remarks, taken in the context of the entire trial, were sufficiently prejudicial and infected the trial

 with such unfairness as to make the resulting conviction a denial of due process. Donnelly v.

 DeChristoforo, 416 U.S. 637, 639, 643 (1974). It is not enough to show that the prosecutor’s


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 conduct or remarks were improper or even universally condemned. Bowling v. Parker, 344 F.3d

 487, 512 (6th Cir. 2003) (citing Darden v. Wainwright, 477 U.S. 168, 181 (1986)). “On habeas

 review, the standard to be applied to claims of prosecutorial misconduct is whether the conduct

 was ‘so egregious as to render the entire trial fundamentally unfair.’” Pritchett v. Pitcher, 117

 F.3d 959, 964 (6th Cir. 1997) (quoting Cook v. Bordenkircher, 602 F.2d 117, 119 (6th Cir.

 1979)).

           When reviewing claims of prosecutorial misconduct, courts first ask whether the

 prosecutor’s conduct or remarks were improper. Slagle v. Bagley, 457 F.3d 501, 515-16 (6th

 Cir. 2006). If the conduct or remarks were improper, the court must consider whether the

 improper acts were so flagrant as to warrant reversal. Id. at 516. The Sixth Circuit has identified

 four factors to consider when analyzing conduct for flagrancy: “1) the likelihood that the

 remarks would mislead the jury or prejudice the accused; 2) whether the remarks were isolated

 or extensive; 3) whether the remarks were deliberately or accidentally presented to the jury;

 [and] 4) whether other evidence against the defendant was substantial.” Gall v. Parker, 231 F.3d

 265, 311-12 (6th Cir. 2000), overruled on other grounds by Bowling, 344 F.3d at 501 n.3.

           “[S]tate courts have substantial breathing room when considering prosecutorial

 misconduct claims because ‘constitutional line drawing [in prosecutorial misconduct cases] is

 necessarily imprecise.’” Slagle, 457 F.3d at 516 (alteration in original) (quoting Donnelly, 416

 U.S. at 645). Moreover,

           [i]n determining whether prosecutorial misconduct mandates habeas relief,
           [courts] apply the harmless error standard. Pritchett v. Pitcher, 117 F.3d 959, 964
           (6th Cir. 1997). An error is found to be harmless unless it “had substantial and
           injurious effect or influence in determining the jury’s verdict.” Brecht v.
           Abrahamson, 507 U.S. 619, 638 (1993).


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 Bates v. Bell, 402 F.3d 635, 641 (6th Cir.), cert. denied, __ U.S. __, 126 S. Ct. 163 (2005).

                        1. Appeals to the Jury’s Passions and Sympathy

        Petitioner alleges that the prosecutor attempted to garner the jurors’ sympathy for the

 victim. The prosecutor stated in her closing argument that the victim was a pretty woman who

 had her personal demons, but had gotten control of her life. The prosecutor also stated that the

 victim laid blindfolded on a cold floor, not knowing from which direction the next blow would

 come. (Tr. Dec. 11, 1997, at 3-4 and 6.) Petitioner contends that there was no evidence the

 victim was conscious during the beating. The Michigan Court of Appeals ruled that the

 prosecutor’s comments and arguments were not improper appeals to the jury for sympathy and

 that the remarks were supported by the evidence and reasonable inferences therefrom.

        The victim was discovered with a pillow case over her head and with her hands and feet

 bound. Brandon Gohagen testified that he thought the defendants’ kicks were directed at the

 victim’s upper body and that, at first, the victim kept talking, but after a few kicks, she began to

 moan. She was moaning when the men left the house. (Tr. Dec. 5, 1997, at 72-74 and 82.) It

 was reasonable to infer from the testimony that the victim was conscious for at least some of the

 beating.

        There also was evidence that the victim had struggled to overcome a substance abuse

 problem. Her children testified that the victim was a recovering alcoholic and had been sober for

 five years at the time of her death. See Tr. Dec. 2, 1997, at 46 (Angela Rodriguez’ testimony);

 id. at 79 (Jeremy Wilkes’ testimony). Thus, there was a factual basis for the prosecutor’s

 comment that the victim had personal demons, but had gotten her life under control. The Court

 concludes that the prosecutor’s comments were proper.


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                       2. Appeals to the Fears and Prejudices of the Jury

        Petitioner alleges next that the prosecutor appealed to the jurors’ fears and prejudice by

 commenting in her opening statement that the testimony would horrify and haunt them (Tr. Dec.

 2, 1997, at 29), that the defendants were “brutal and savage murderers” (id. at 17), and that, by

 the end of the trial, the jurors would have looked twice into the face of evil (id. at 29). The

 prosecutor stated in her closing argument that the defendants were “sadistic executioners” and

 that their acts were “pure evil.” (Tr. Dec. 11, 1997, at 3 and 5-6.) The state appellate court

 opined that these remarks were not improper, when viewed in context.

        The Supreme Court has explained that prosecutors “may prosecute with earnestness and

 vigor” and “may strike hard blows,” but they are “not at liberty to strike foul ones. It is as much

 [their] duty to refrain from improper methods calculated to produce wrongful conviction as it is

 to use every legitimate means to bring about a just one.” Berger v. United States, 295 U.S. 78,

 88 (1935).

        The comments that the defendants were “brutal and savage murderers” and “sadistic

 executioners” were improper because it was equivalent to saying that the defendants were guilty

 of the murder with which they were charged. Prosecutors may not “express a personal opinion

 or belief regarding the truth or falsity of any testimony or evidence.” United States v. Hurst, 951

 F.2d 1490, 1502 (6th Cir. 1991) (citing United States v. Young, 470 U.S. 1, 8 (1985)). However,

 the opening statement was intended to summarize what the evidence would show, and the jurors

 likely were persuaded by the strength of the evidence subsequently presented to them, as

 opposed to, the prosecutor’s opening statement.

        The remarks made during closing arguments no doubt were deliberately made. However,


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 the Sixth Circuit “has been reluctant to grant habeas petitions based on improper prosecutorial

 statements at closing argument.” Wilson v. Mitchell, 250 F.3d 388, 399 (6th Cir. 2001).

 Furthermore, the trial court instructed the jurors not to be swayed by sympathy or prejudice and

 that the attorneys’ statements and arguments were not evidence. (Tr. Dec. 11, 1997, at 72 and

 75.) “[J]uries are presumed to follow their instructions.” Marsh v. Richardson, 481 U.S. 200,

 211 (1987); see also United States v. Roberts, 986 F.2d 1026, 1031 (6th Cir. 1993) (stating that

 “the prejudicial effect of improper comments may be negated by curative instructions to the

 jury”). In light of substantial evidence that Petitioner aided and abetted his brother in

 committing a brutal murder, the jurors likely were not misled by the prosecutor’s remarks. Thus,

 the prosecutor’s remarks were not flagrant.

                                     3. Appeals to Civic Duty

        Petitioner’s final allegation about the prosecutor is that she imposed a civic and moral

 duty on the jurors to convict the defendants when she stated that there could not be enough

 justice for the acts committed against the victim. The Michigan Court of Appeals determined

 that the prosecutor’s remarks did not constitute an improper civic duty argument.

        “Unless calculated to incite the passions and prejudices of the jurors, appeals to the jury

 to act as the community conscience are not per se impermissible.” United States v. Solivan, 937

 F.2d 1146, 1151 (6th Cir. 1991). Prosecutors may not “call upon the jury to solve a social

 problem . . . by convicting the defendant,” but “it is not improper for the prosecutor to make a

 ‘mere allusion to the general need to convict guilty people.’” Hutchison v. Bell, 303 F.3d 720,

 751 (6th Cir. 2002) (quoting Solivan 937 F.2d at 1154).

        The Court looks to Viereck v. United States, 318 U.S. 236, 247 (1943), as a guide for


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 determining whether a prosecutor intended his or her comments to incite prejudice and passion

 in the jury. United States v. Emuegbunam, 268 F.3d 377, 406 (6th Cir. 2001). “In Viereck, the

 [Supreme] Court reversed the conviction of a German foreign agent for willfully failing to

 inform the Secretary of State of certain business activities through which he systematically

 engaged in propaganda on behalf of Germany.” Id. The prosecutor exhorted the jury as follows:



        In closing, let me remind you, ladies and gentlemen, that this is war. This is war,
        harsh, cruel, murderous war. There are those who, right at this very moment, are
        plotting your death and my death; plotting our death and the death of our families
        because we have committed no other crime than that we do not agree with their
        ideas of persecution and concentration camps.

        This is war. It is a fight to the death. The American people are relying on you
        ladies and gentlemen for their protection against this sort of a crime, just as much
        they are relying upon the protection of the Men who man the guns in Bataan
        Peninsula, and everywhere else. They are relying upon you ladies and gentlemen
        for their protection. We are at war. You have a duty to perform here.

        As a representative of your Government I am calling upon every one of you to do
        your duty.

 Viereck, 318 U.S. at 247 n.3. In contrast, the prosecutor at Petitioner’s trial said:

        [M]ake no mistake about it, there is no understanding of the whys of [the
        victim’s] death.

                That nightmare can scarcely be comprehended, no less understood. Only
        as to how, alone, terrified on a cold floor and in an agonizing manner,
        blindfolded, not even knowing from what direction the next blow would come.
        Not even knowing.

               And even those words, ladies and gentlemen of the jury, don’t do this
        horror justice. And even you, the jury, will never be able to do justice in this
        matter. How could there be enough justice for the ruthless slaughter of an
        innocent woman?

               How could there be enough justice for the act of savagery that we know
        now took place? How could there even be enough justice for the terror, panic

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        and pain suffered by Margaret in the last moments of her life. And the
        unfortunate truth, there never could be.

               There never could be enough justice for a woman maimed, mutilated,
        broken and bloody in a heap on the floor.

                ....

                And the truth, unfortunately the truth is that a human life has been
        ruthlessly and viciously extinguished and there will never be enough justice for
        that, never, never.

 (Tr. Dec. 11, 1997, at 6-7 and 38) (emphasis added).

         The prosecutor did not call upon the jurors to solve a social problem, send a message, or

 perform a duty. In fact, she implied that even a guilty verdict would be insufficient and would

 not undo the injustice perpetrated on the victim.

        The disputed remarks were not comparable to the remarks found improper in Viereck,

 and they did not infect Petitioner’s trial with such unfairness as to deprive Petitioner of due

 process. Therefore, Petitioner has no right to habeas relief on the basis of his “civic duty” claim.

                           E. Denial of Motion for a Directed Verdict

        Petitioner alleges next that he was denied his constitutional right to due process when the

 trial court denied his motion for a directed verdict of acquittal. He claims that there was

 insufficient evidence to establish the charge of premeditated and felony murder. The Michigan

 Court of Appeals disagreed. It concluded that the prosecutor presented sufficient evidence to

 support Petitioner’s convictions for premeditated and felony murder and for first-degree criminal

 sexual conduct.

        In Michigan, the standard for evaluating a motion for directed verdict is whether, at the

 time the motion was made, a rational trier of fact could have found that the prosecutor proved the



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 essential elements of the crimes beyond a reasonable doubt. People v. Warren, 228 Mich. App.

 336, 345; 578 N.W.2d 692, 696 (1998). To the extent that Petitioner has asserted a federal

 constitutional question, the issue is whether there was sufficient evidence to support the criminal

 convictions. In Jackson v. Virginia, 443 U.S. 307 (1979), the Supreme Court explained that the

 relevant question for sufficiency-of-the-evidence claims is “ whether, after viewing the evidence

 in the light most favorable to the prosecution, any rational trier of fact could have found the

 essential elements of the crime beyond a reasonable doubt.” Id. at 319 (emphasis in original).

        Jurors may convict a defendant of murder “only when they are convinced beyond a

 reasonable doubt that (1) the defendant intended (actually or impliedly) to kill and (2)

 circumstances of justification, excuse or mitigation do not exist.” People v. Morrin, 31 Mich.

 App. 301, 323; 187 N.W.2d 434, 445 (1971).

                                    1. Elements of the Crimes

                                     a. Premeditated Murder

        First-degree premeditated murder requires a finding that the defendant acted with

 premeditation and deliberation. Id., 31 Mich. App. at 328; 187 N.W.2d at 448-49.

        To premeditate is to think about beforehand; to deliberate is to measure and
        evaluate the major facets of a choice or problem. As a number of courts have
        pointed out, premeditation and deliberation characterize a thought process
        undisturbed by hot blood. While the minimum time necessary to exercise this
        process is incapable of exact determination, the interval between initial thought
        and ultimate action should be long enough to afford a reasonable man time to
        subject the nature of his response to a “second look.”

 Id., 31 Mich. App. at 329-30; 187 N.W.2d at 449 (footnotes omitted).

        Premeditation and deliberation may be proved by circumstantial evidence. People v.

 Herndon, 246 Mich. App. 371, 415; 633 N.W.2d 376, 404 (2001). Factors to be considered


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 when determining whether the defendant premeditated and deliberated a murder are: “(1) the

 previous relationship between the defendant and the victim; (2) the defendant’s actions before

 and after the crime; and (3) the circumstances of the killing itself, including the weapon used and

 the location of the wounds inflicted.” People v. Plummer, 229 Mich. App. 293, 300; 581

 N.W.2d 753, 757 (1998).

                                        b. Felony Murder

        The elements of felony murder are:

        (1) the killing of a human being, (2) with the intent to kill, to do great bodily
        harm, or to create a very high risk of death or great bodily harm with knowledge
        that death or great bodily harm was the probable result [i.e., malice], (3) while
        committing, attempting to commit, or assisting in the commission of any of the
        felonies specifically enumerated in [the statute . . . .].

 People v. Carines, 460 Mich. 750, 759; 597 N.W.2d 130, 136 (1999). “[C]ircumstantial

 evidence alone is sufficient to sustain a conviction and such evidence need not ‘remove every

 reasonable hypothesis except that of guilt.’” United States v. Ellzey, 874 F.2d 324, 328 (6th Cir.

 1989) (quoting United States v. Stone, 748 F.2d 361, 363 (6th Cir. 1984)).

                                           2. The Facts

        The prosecution established that Petitioner, his brother Melvin, and Brandon Gohagen

 were drinking beer and smoking marijuana in the backyard of Petitioner’s home one summer

 night in July of 1996. Melvin brought up the subject of the victim, who was living alone in the

 house next door. Melvin stated that he did not like the victim. He then armed himself with a

 gun, expressed an intent to “mess with” the victim, and walked toward her home. He later

 whistled for Petitioner and Gohagen, who followed Melvin into the house. Melvin proceeded to

 wake up the victim, ordered her to disrobe, and told her to be quiet or he would shoot her.


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 Melvin then ordered Gohagen to sexually assault the victim. Gohagen also was armed, but he

 removed his gun from his waistband and handed it to Petitioner when Petitioner motioned for it.

 Then Gohagen sexually penetrated the victim. After the sexual assault, Petitioner bound the

 victim’s hands and feet and carried her to the basement of the home. She was placed in an

 upright position on her knees in front of Petitioner and Melvin. She repeatedly said that, if the

 men left the premises, she would not tell anyone about the incident. Melvin DeJesus replied, “I

 know you won’t tell anyone, bitch.” Melvin then pushed the victim down and began kicking

 her in the upper body. Petitioner likewise kicked the victim a few times. The victim was

 moaning when the three men left the house.

         The medical examiner testified that the victim died from blunt force head trauma and that

 her injuries were consistent with being kicked to death. DNA testing established that Brandon

 Gohagen could not be excluded as a source of sperm found on a swab taken from the victim’s

 body.

                                            3. Analysis

         The evidence as summarized above established that Petitioner, his brother Melvin, and

 Brandon Gohagen perpetrated the crimes. The jury could have interpreted Melvin’s statement

 that the victim would not be telling anyone to mean that Melvin intended to silence the victim by

 killing her. Petitioner was present when Melvin made the statement. By joining Melvin in

 kicking the victim after hearing Melvin’s statement, the jury could have inferred that Petitioner

 shared Melvin’s intent to kill the victim or that he aided and abetted Melvin, knowing that

 Melvin intended to kill the victim. Thus, when viewing the evidence in the light most favorable

 to the prosecution, there was sufficient evidence to support the charge of premeditated murder.


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        The evidence also established that Petitioner held a gun while Brandon Gohagen sexually

 assaulted the victim and that he did not return the gun to Gohagen until the next day. Following

 the sexual assault, Petitioner bound the victim and joined in kicking her in the upper body. This

 evidence was sufficient to establish that Petitioner aided and abetted a murder during the

 commission of a felony and that he intended to kill, to do great bodily harm, or to create a very

 high risk of death or great bodily harm, knowing that death or great bodily harm was the

 probable result.

        The state court’s conclusion that sufficient evidence supporting the charges was a

 reasonable application of Jackson. Therefore, Petitioner has no right to relief on the basis of his

 claim that the trial court erroneously denied his motion for a directed verdict of acquittal.

                                         F. DNA Evidence

        The sixth and final habeas claim alleges that the state courts denied Petitioner due

 process by (1) refusing to provide available DNA biological samples for independent testing and

 (2) failing to conduct a post-conviction hearing on a forensic scientist’s report, which disputed

 the State’s evidence. The habeas petition and Petitioner’s pending motion for discovery seek

 permission to conduct DNA testing of blood found under the victim’s fingernail.

        Petitioner contends that DNA evidence would establish that blood under the victim’s

 nails came from Brandon Gohagen, not Petitioner. This evidence, alleges Petitioner, would

 demonstrate that Gohagen acted alone, a theory supported by Petitioner’s independent expert,

 who claims that the victim died of a single stomp to the head. Petitioner further alleges that

 evidence of Gohagen’s blood under the victim’s nails would undermine Gohagen’s credibility,

 because Gohagen testified that the witness did not physically resist his sexual assault and that he

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 had no other physical contact with her. Petitioner argues that DNA evidence would so

 undermine the State’s case that his innocence would be established.

                 1. The State Court’s Refusal to Grant Discovery or a Hearing

         State felons convicted at trial before January 8, 2001, may petition the state circuit court

 to order DNA testing of biological material. See Mich. Comp. Laws § 770.16. The trial court

 denied Petitioner’s request for DNA testimony on the ground that the results of DNA testing

 would not undermine the state’s theory of criminal liability and would not exonerate Petitioner.

 The trial court concluded that Petitioner had not met his burden of proving that blood under the

 victim’s nails was material to identification of Brandon Gohagen as the murderer.

         The state court’s refusal to grant relief under Mich. Comp. Laws § 770.16 is not a basis

 for habeas relief, because “a state court’s interpretation of state law . . . binds a federal court

 sitting in habeas corpus.” Bradshaw v. Richey, 546 U.S. 74, __, 126 S. Ct. 602, 604 (2005); see

 also Miskel v. Karnes, 397 F.3d 446, 453 (6th Cir. 2005) (stating that “this Court ‘must defer to

 a state court’s interpretation of its own rules of evidence and procedure’ when assessing a habeas

 petition”). Furthermore, “there exists no general constitutional right to post-judgment DNA

 testing.” Alley v. Key, No. 06-5552, 2006 WL 1313364 at *1 (6th Cir. May 14, 2006)

 (unpublished opinion), cert. denied, __ U.S. __, 126 S. Ct. 2973 (2006). In addition,

         relief may not be granted to a habeas petitioner for alleged deficiencies in a state’s
         post-conviction procedures because such claims relate to a state civil matter, not
         the custody of a defendant. Therefore, even if [the petitioner] can demonstrate
         that some error occurred during the state post-conviction proceedings, the claim is
         not cognizable on federal habeas review.


 Roe v. Baker, 316 F.3d at 572. For these reasons, Petitioner has no right to habeas relief on the


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 basis of the state court’s refusal to grant his request for DNA testing.

                          2. Discovery and a Hearing on Habeas Review

         “Generally, a habeas petitioner is entitled to an evidentiary hearing in federal court if the

 petition ‘alleges sufficient grounds for release, relevant facts are in dispute, and the state courts

 did not hold a full and fair evidentiary hearing.’” Stanford v. Parker, 266 F.3d 442, 459 (6th Cir.

 2001) (quoting Wilson v. Kemna, 12 F.3d 145, 146 (8th Cir. 1994)). Habeas petitioners also are

 not entitled to discovery as a matter of course. Bracy v. Gramley, 520 U.S. 899, 904 (1997).

 “Rule 6(a) [of the Rules Governing Section 2254 Cases] makes it clear that the scope and extent

 of such discovery is a matter confided to the discretion of the District Court.” Id. at 909. It is an

 abuse of discretion not to permit discovery when “‘specific allegations before the court show

 reason to believe that the petitioner may, if the facts were fully developed, be able to

 demonstrate that he is . . . entitled to relief .’” Id. at 908-09 (ellipsis in original) (quoting Harris

 v. Nelson, 394 U.S. 286, 300 (1969)). In such circumstances, “‘it is the duty of the court to

 provide the necessary facilities and procedures for an adequate inquiry.’” Id. at 909 (quoting

 Harris, 394 U.S. at 300).

         The medical examiner testified at Petitioner’s trial that he took fingernail clippings from

 the victim, but that he did not see blood or skin under the nails. (Tr. Dec. 5, 1997, at 33-34.) A

 forensic scientist for the State observed blood on the nails, but he claimed that the amount of

 blood was too small to send to the lab for testing. (Tr. Dec. 8, 1997, at 104-06 and 137.)

         Even if Petitioner could establish that blood under the victim’s nails was Gohagen’s, “a

 claim of ‘actual innocence’ is not itself a constitutional claim,” Herrera v. Collins, 506 U.S. 390,

 404 (1993), and “whatever burden a hypothetical freestanding innocence claim would require,

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 this petitioner has not satisfied it.” House v. Bell, __ U.S.__, __, 126 S. Ct. 2064, 2087 (2006).

 Evidence of Gohagen’s blood under the victim’s fingernails would not rule out Petitioner’s

 participation in the crimes. The evidence might undermine Gohagen’s testimony somewhat,

 because he denied a physical struggle with the victim and he denied having scratches on his face

 after the incident. (Tr. Dec. 5, 1997, at 66 and 134.) The jury, however, was made aware that

 Gohagen’s testimony might not be entirely truthful. Two witnesses claimed that Gohagen had

 scratches on his neck after the murder. See Tr. Dec. 9, 1997, at 38 (Heather Hunt’s testimony)

 and at 86 (Jennifer Jones’ testimony). The jury convicted Petitioner despite this contradictory

 evidence.

        There also was evidence that Petitioner had scratches on his face or arms following the

 incident. See Tr. Dec. 8, 1997, at 11-12 (Hector Negron’s testimony) and at 16-17 (Jamie

 Martin’s testimony). Thus, the possibility exists that DNA testimony would further incriminate

 Petitioner and not exculpate him. In short, even if the blood sample could be tested, and

 established that Gohagen had been scratched by the victim, such an outcome has such minimal

 relevance to the acts presented to the jury that Petitioner cannot establish a due process violation.

        Petitioner has failed to show that he would be entitled to relief even if the facts were fully

 developed. Therefore, the Court declines to grant discovery or an evidentiary hearing.

                                          IV. Conclusion

        The state courts’ adjudication of Petitioner’s claims did not result in decisions that were

 contrary to, or an unreasonable application of, clearly established federal law as determined by

 the Supreme Court. Accordingly, the habeas petition is DENIED. Petitioner’s motion for



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 discovery [Doc. 30, Dec. 7, 2004] also is DENIED.

 Dated: December 20, 2006

                                                S/George Caram Steeh
                                                GEORGE CARAM STEEH
                                                UNITED STATES DISTRICT JUDGE


                                     CERTIFICATE OF SERVICE


                       Copies of this Order were served upon attorneys of record on
                         December 20, 2006, by electronic and/or ordinary mail.


                                          S/Josephine Chaffee
                                              Deputy Clerk




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